      Case: 1:24-cv-11706 Document #: 30 Filed: 12/16/24 Page 1 of 2 PageID #:609




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 JEFF BARTELS,

         Plaintiff,                                                Case No.: 1:24-cv-11706

 v.                                                                Judge Manish S. Shah

 THE PARTNERSHIPS AND UNINCORPORATED                              Magistrate Judge Jeffrey Cole
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                    DEFENDANT
                  1                                     YangChiCao
                 96                                     ToBe-Unique


DATED: December 16, 2024                             Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     33 W. Jackson Blvd., #2W
                                                     Chicago, Illinois 60604
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                                                     ATTORNEY FOR PLAINTIFF




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    Case: 1:24-cv-11706 Document #: 30 Filed: 12/16/24 Page 2 of 2 PageID #:610




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on December 16, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt




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